   Case: 1:04-cr-00778 Document #: 783 Filed: 05/15/19 Page 1 of 3 PageID #:2470



                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 UNITED STATES OF AMERICA                            )
                                                     )
                                                             No. 04 CR 778
                         v.                          )
                                                     )
                                                             Judge Kendall
 BEATA KASZUBA,                                      )
                                                     )
                                Defendant.           )

                      MOTION TO CLARIFY RESTITUTION ORDER

       The United States of America, by John R. Lausch, Jr, United States Attorney for the

Northern District of Illinois, requests this court to enter an order clarifying the restitution liability

of defendant Beata Kaszuba, and in support states as follows:

       1.       Defendant Beata Kaszuba was sentenced on December 28, 2005. Pursuant to 18

U.S.C. § 3663A, Kaszuba was ordered to pay joint and several restitution in the amount of

$119,318 to victim American Family Insurance, Progressive Insurance, and State Farm Insurance.

The case included 16 defendants and eight victims.

       2.      The United States does not seek to change the amount of restitution owed by each

defendant here, but rather seeks to clarify the joint and several liability of the defendants.

       3.      The procedures for issuance and enforcement of orders of restitution are set forth

in 18 U.S.C. § 3664. When multiple defendants have contributed to the loss of victims, § 3664(h)

provides that the court may impose joint and several liability on the defendants.

       4.      In order to ensure that the victim is made whole, the United States pursues

collection against joint and several defendants to the extent that assets are recoverable from a given

defendant, up to the point a victim is made whole but without a defendant paying more than for

which they are liable. Under this premise, when a joint and several defendant is solely liable for
   Case: 1:04-cr-00778 Document #: 783 Filed: 05/15/19 Page 2 of 3 PageID #:2471



a restitution amount in excess of the joint and several portion of their liability, the government first

applies the defendant’s payments to the amount for which she is solely liable before any payments

are applied to the joint and several portion of the restitution.

        4.      Under the accounting procedure outlined in the preceding paragraph, any payments

received from other defendants for a single victim should be first applied to the portion of the

judgment that those defendants are solely liable for.

        5.      For victim American Family Insurance, each joint and several co-defendant, which

includes co-defendants William Kurczodyna and Witold Osinski will first satisfy the amount of

the joint and several restitution that is above the $40,423 restitution ordered against Kazuba.1 As

a result of this payment application, Kaszuba has received $15,341.46 in credit from payments

made by her joint and several co-defendants for American Family Insurance and shehas a current

balance of $17,318.58.

        6.      For victim Progressive Insurance, each joint and several co-defendant Osinski will

first satisfy the amount of the joint and several restitution that is above the $33,637 restitution

ordered against Kaszuba.       As a result of this payment application, Kazuba has received

$18,804.23 in credit from payments made by her joint and several co-defendants and she has a

current balance of $29,945.07.

        7.      Kaszuba’s restitution to State Farm Insurance is not joint and several and she is

the sole judgment debtor. Therefore, her judgment balance remains $17,737.26.




        1
          The United States previously filed a report on joint and several restitution on November
6, 2008, which improperly indicated that each defendant who owed the same insurance company
was jointly and severally liable with every other co-defendant who also owed that insurance
company. Dkt. 567. However, only the defendants who were actually involved in each transaction
are jointly and severally liable.
   Case: 1:04-cr-00778 Document #: 783 Filed: 05/15/19 Page 3 of 3 PageID #:2472



       WHEREFORE, the United States requests the entry of an order clarifying that defendant

Kaszuba is only to get credit from payments by her joint and several co-defendants when

the individual co-defendant’s balances no longer exceed the balance of her own judgment debt,

and that she remains indebted in the amounts of $17,318.58 to American Family Insurance,

$29,945.07 to Progressive Insurance, and $17,737.26 to State Farm Insurance, for a total

indebtedness of $65,000.90.

                                          Respectfully submitted,

                                          JOHN R. LAUSCH, Jr.
                                          United States Attorney

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